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                EXHIBIT C
              Case 3:23-cv-03417-VC Document 190-7 Filed 10/01/24 Page 2 of 6




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14
                                UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
16

17   Richard Kadrey, et al.,                                   Case No. 3:23-cv-03417-VC
18                 Individual and Representative Plaintiﬀs,    PLAINTIFFS’ FOURTH SET OF
                                                               REQUESTS FOR PRODUCTION TO
19
     v.                                                        DEFENDANT META
20
     Meta Platforms, Inc.,
21
                                                  Defendant.
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      Case No. 3:23-cv-03417-VC                   1
                 PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT META
                Case 3:23-cv-03417-VC Document 190-7 Filed 10/01/24 Page 3 of 6




 1                         REQUESTS FOR PRODUCTION OF DOCUMENTS

 2   REQUEST FOR PRODUCTION NO. 76

 3          Documents and Communications Concerning mandatory training titled “Legal” given to former

 4   employee Tim Dettmers while employed with Meta before December 2020.

 5   REQUEST FOR PRODUCTION NO. 77

 6          Communications Concerning any licensing copyrighted works that were used to train the Meta

 7   Language Models.

 8   REQUEST FOR PRODUCTION NO. 78

 9          Documents suﬃcient to show what the term “invite-only” means as used by Defendant in ECF

10   No. 105.

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      Case No. 3:23-cv-03417-VC              11
                     PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT META
             Case 3:23-cv-03417-VC Document 190-7 Filed 10/01/24 Page 4 of 6




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      Case No. 3:23-cv-03417-VC              12
                     PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT META
              Case 3:23-cv-03417-VC Document 190-7 Filed 10/01/24 Page 5 of 6




 1                                         CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is 601

 3   California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not a party

 4   to this action.

 5           On August 29, 2024, I caused the following documents to be served by email upon the parties listed

 6   on the attached Service List:

 7          PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT
             META PLATFORMS, INC.
 8

 9           I declare under penalty of perjury that the foregoing is true and correct. Executed on August 29,

10   2024.

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                                                                 Rya Fishman
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      Case No. 3:23-cv-03417-VC              13
                     PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT META
            Case 3:23-cv-03417-VC Document 190-7 Filed 10/01/24 Page 6 of 6




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     Case No. 3:23-cv-03417-VC              14
                    PLAINTIFFS’ FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANT META
